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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 HON. BENNIE G. THOMPSON, in his personal
 capacity, et al.,
                                                            No. 1:21-cv-00400 (APM)
                 Plaintiffs,
         v.

 DONALD J. TRUMP, solely in his personal
 capacity, et al.,

                 Defendants.



                                         [PROPOSED] ORDER
        Upon consideration of the motion of law professors for leave to file an amici curiae brief

in support of plaintiffs, it is hereby

        ORDERED that the motion is GRANTED.

        Dated: _____________


                                                     ______________________________
                                                     Amit P. Mehta
                                                     United States District Judge
